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 5
     Attorney for Defendant
     HUANCHANG MA
 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                             FOR THE EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        )       No. 2:11-cr-00166 MCE
                                                      )
                                                      )
10             Plaintiff,                             )       AMENDED STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS and ORDER
12
     HUANCHANG MA,                                    )
                                                      )       Date: September 12, 2013
13
                                                      )       Time: 9:00 a.m.
               Defendant.                             )       Judge: Honorable Morrison C. England, Jr.
14
                                                      )
                                                      )
15
                                                      )
16
               The United States of America through its undersigned counsel, Todd D. Leras, Assistant
17
     United States Attorney, together with counsel for defendant Huanchang Ma, John R. Manning,
18

19   Esq., hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on August 29, 2013.
21
          2. By this stipulation, defendant now moves to continue status conference until September
22
     12, 2013 and to exclude time between August 29, 2013 and September 12, 2013 under the Local
23

24
     Code T-4 (to allow defense counsel time to prepare).

25        3.   The parties agree and stipulate, and request the Court find the following:
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               a. This case is one in a series of cases developed from a lengthy DEA/Elk Grove
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                   PD/Sac. SO investigation into “grow houses” in the Elk Grove area. Several
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        individuals have been charged. Many, if not all the defendants a part of this
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 2      investigation are non English speakers and require the services of an interpreter to

 3      communicated with. The widespread need for Cantonese/Mandarin interpreters in
 4
        this case, the companion cases(s), and in general, has made scheduling meetings very
 5
        difficult. However, as this case is winding up, scheduling has become less difficult.
 6

 7
        To that end, the Defense has provided the Government with additional discovery and

 8      the Government needs to time to review the material and evaluate their next step.
 9   b. The Defense has proffered a proposed resolution to the Government and the
10
        Government needs additional time to review the settlement proposal. Additional
11
        meetings between counsel for Mr. Ma and the Government are necessary to discuss
12

13      the proposed resolution.

14   c. The Government does not object to the continuance.
15
     d. Based on the above-stated findings, the ends of justice served by granting the
16
        requested continuance outweigh the best interests of the public and the defendant in a
17
        speedy trial within the original date prescribed by the Speedy Trial Act.
18

19   e. For the purpose of computing time under the Speedy Trial Act, 18 United States Code

20      Section 3161(h)(7)(A) within which trial must commence, the time period of August
21
        29, 2013 to September 12, 2013, inclusive, is deemed excludable pursuant to 18
22
        United States Code Section 3161(h)(7)(A) ) and (B)(iv), corresponding to Local Code
23

24
        T-4 because it results from a continuance granted by the Court at defendant’s request

25      on the basis of the Court’s finding that the ends of justice served by taking such
26      action outweigh the best interest of the public and the defendant in a speedy trial.
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       4.   Nothing in this stipulation and order shall preclude a finding that other provisions of the
 1

 2          Speedy Trial Act dictate that additional time periods are excludable from the period within

 3          which a trial must commence.
 4
     IT IS SO STIPULATED.
 5

 6   Dated: August 27, 2013                                        /s/ John R. Manning
                                                                  JOHN R. MANNING
 7                                                                Attorney for Defendant
 8
                                                                  Huanchang Ma

 9   Dated: August 27, 2013                                       Benjamin B. Wagner
                                                                  United States Attorney
10

11
                                                                  by:/s/ Todd D Leras
                                                                  TODD D. LERAS
12                                                                Assistant U.S. Attorney
13

14                                                ORDER

15          IT IS SO FOUND AND ORDERED. The status conference currently set for August 29,
16
     2013, is hereby vacated and continued to September 12, 2013, at 9 a.m. in Courtroom 7. The
17
     time period between August 29, 2013 and September 12, 2013 is excluded under the Local Code
18
     T-4 for the reasons set forth above. The Court finds that ends of justice served by granting the
19

20   requested continuance outweigh the best interests of the public and the defendant in a speedy

21   trial within the original date prescribed by the Speedy Trial Act.
22
            IT IS SO ORDERED.
23
     Dated: August 27, 2013
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